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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  ROBERT SAMPSON,                                    :
                                                     :
                     Plaintiff,                      :
                                                     :   CIVIL ACTION NO.
                           v.                        :
                                                     :   JURY TRIAL DEMANDED
  STONY BROOK UNIVERSITY; and                        :
  MAURIE MCINNIS, in her official capacity           :
  as President of Stony Brook University,            :
                                                     :
                      Defendants.                    :


                                           COMPLAINT

        Plaintiff Robert Sampson (“Sampson”) is a gifted joint-degree student in good standing

 who is currently enrolled at both Stony Brook University’s Renaissance School of Medicine and

 its College of Business. Although Stony Brook requires students who are pursuing only a degree

 in medicine to complete a medical degree in seven years, no such requirement applies to students

 pursuing joint degrees.

        Sampson is a student with a disability who receives extended time on examinations. He

 must take a national board exam administered by the National Board of Medical Examiners

 (“NBME”), which has repeatedly refused to provide him with the same testing accommodations

 that Stony Brook provides him on examinations. Sampson has been forced to take extended

 leaves of absence while pursuing the accommodations that he needs on the NBME exam.

        Although Stony Brook admits that Sampson needs the testing accommodations that he

 seeks from the NBME, it has refused to give him the time necessary to obtain the required testing

 accommodations from NBME. Stony Brook has informed Sampson that it will soon dismiss

 Sampson from the medical program for not being able to graduate within seven years despite the

 fact that he passed all of his classes, received stellar performance reviews in recent clinical
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 rotations, and has earned a 4.0 average in his masters’ degree classes. Stony Brook’s stated intent

 to dismiss Sampson is discrimination based on disability in violation of Title II of the Americans

 with Disabilities Act, 42 U.S.C. § 12131 et seq., and section 504 of the Rehabilitation Act, 29

 U.S.C. § 794.

        An injunction is necessary to preserve the status quo so that Sampson can maintain his

 eligibility to sit for the NBME examinations. An essential eligibility requirement for taking the

 NBME examination is current enrollment in a medical school; if Stony Brook dismisses him

 from its program, he will no longer be eligible to even take the board exam for which he seeks

 accommodations, and his medical career will be over before it has even started despite his

 successful academic performance, years of paying tuition to Stony Brook, and dedicated hard

 work. Sampson also seeks declaratory relief and damages including but not limited to economic

 costs to redress the harms he has suffered, as well as reasonable attorneys’ fees and costs.

                                  Jurisdiction, Parties, and Venue

        1.       Sampson is a citizen of the state of New York and is a joint-degree student in

 medicine and business administration at Stony Brook University (“Stony Brook).

        2.       Stony Brook is a public university that is part of the State University of New York

 system, with its main campus at 100 Nicolls Road, Stony Brook, NY 11794.

        3.       Stony Brook is a recipient of significant Federal financial assistance in multiple

 forms from multiple federal agencies. Stony Brook has accepted more than $32 million from the

 United States Department of Health and Human Services, more than $21.8 million from the

 United States Department of Defense, more than $19 million from the Small Business

 Administration, more than $15.1 million from the National Science Foundation, more than $14.5

 million from the United States Department of Energy, and significant funds from multiple other

 federal agencies such as a grant from the United States Department of Veterans Affairs has a
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 current award value in the amount of $1,986,840.92 and a potential award value of

 $6,022.898.46.

         4.      These many millions of dollars Stony Brook received and continues to receive

 were and are all conditioned on a promise by Stony Brook to the federal government not to

 discriminate on the basis of disability.

         5.      Maurie McInnis is the President of Stony Brook, and she is being sued in her

 official capacity only.

         6.      Sampson’s claims against Stony Brook arise under Title II of the ADA, 42 U.S.C.

 §§ 12131 et seq., and under section 504 of the Rehabilitation Act, 29 U.S.C. § 794. This Court

 has jurisdiction of this action under 28 U.S.C. §§ 1331 and 1343(a)(4).

         7.      Venue is proper because the events giving rise to this lawsuit occurred within this

 District and Stony Brook is located in this District.

                                               FACTS

         8.      Robert Sampson has successfully completed three out of four years of medical

 education.

         9.      Although his education was interrupted as the result of his disability and need for

 accommodations, he is 40 weeks away from completing his medical education.

         10.     Sampson is a joint-degree student in good standing at both Stony Brook’s School

 of Medicine and its College of Business.

         11.     Sampson is a gifted student. His grade point average in his business school classes

 to date is a straight 4.0.

         12.     Sampson is likewise a gifted medical student who shows promise of being a well-

 prepared and compassionate doctor. In his third-year clinical rotations, just recently completed in

 2021, Stony Brook’s medical faculty and preceptors penned glowing evaluations of Sampson,
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 saying Sampson was an “excellent student” who is “highly compassionate”, “looked for ways to

 help”, showed “great enthusiasm”, and was “an asset to our team”. They further described

 Sampson as “extremely dedicated to his patients”, “thoughtful,” and a “pleasure to work with”.

         13.    In his recent surgical rotation, preceptors wrote that even when cases ran late and

 Sampson could have left, he “insisted on staying and finishing with the team.” They reported that

 Sampson “exhibits an advanced understanding of surgery for his level and consistently portrays a

 natural sense of curiosity, which is apparent in his thoughtful questions.”

         14.    Of his readiness to move into his fourth and final year of medical school, these

 Stony Brook faculty and preceptors said that Sampson’s “medical knowledge and ability to

 assimilate this knowledge was impressive for his level of training” and “above expected for the

 level of training”, and predicted that Sampson “will transition well into his clerkship year.”

         15.     In addition to and separate from his dedication to his studies, Sampson on his

 own invented not one but two life-saving medical systems for which he received two patents

 from the United States Patent and Trademark Office.

         16.     All of Sampson’s accomplishments were achieved as an individual with a

 disability.

         17.    Sampson is diagnosed with Attention Deficit Hyperactivity Disorder (“ADHD”)

 and learning disabilities that cause substantial impairment in the major life activities of thinking,

 concentrating, reading, learning, and taking standardized exams.

         18.    Sampson has spent a lifetime requiring accommodation and/or mitigating

 measures to overcome these challenges.




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        19.     He began years of speech and language therapy at the age of four. In grammar

 school, though bright, his mother read assignments to him because he struggled with reading

 comprehension and focusing.

        20.     His educational record is notable each year as far back as kindergarten for

 difficulties in focus, attention, comprehension, and timely completion of tasks. For example, his

 second-grade teacher noted that Sampson’s difficulty in focusing caused him to struggle with

 comprehension. Likewise, his fifth-grade teacher noted that his grades were impacted by his

 inability to complete assignments. Sixth-grade teachers also noted that his susceptibility to

 distraction interfered with assignment completion.

        21.     During elementary school, he required both tutors and a reading specialist. In fact,

 Sampson relied heavily on tutors throughout his education and worked hard – harder than his

 peers – to learn and demonstrate mastery of the material learned.

        22.     In college, Sampson avoided classes with heavy reading and his grades varied

 widely because of the impact of his disabilities.

        23.     Educational testing confirms the reports of Sampson’s teachers all the way back

 to elementary school and his own experiences.

        24.     For example, neurocognitive testing in 2013 documented that when faced with a

 complex reading task, Sampson was only able to complete half of the task in the allotted time as

 compared to the general population.

        25.     Contrary to popular, cultural misperceptions, students with ADHD suffer

 significant impairments, facing real, disability-based barriers to demonstrating their knowledge.

 This is true for gifted students who are twice exceptional insofar as they are both gifted and a

 student with a disability.



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        26.     Likewise, students with learning disability face significant and real disability-

 based barriers that require accommodations.

        27.     Students with both ADHD and learning disabilities find the interplay of these two

 disabilities to be devastating – reading is more difficult and labored, requiring focus that the

 student does not have because of ADHD.

        28.     As the result of supportive parents, a host of tutors, dedication, work ethic,

 mitigating measures, and a bright mind, Sampson earned admission to and matriculated at Stony

 Brook’s Renaissance School of Medicine.

        29.     When Sampson entered medical school on August 12, 2015, he hoped that the

 mitigating measures he had relied on for a lifetime would be sufficient to overcome the

 challenges imposed by his ADHD and learning disabilities, but this was not the case.

        30.     During orientation, he and his classmates were advised that all that was required

 for them to progress from year to year and successfully complete medical school was to pass all

 classes. Indeed, Power Point presentations shown to Sampson and his classmates at orientation

 specified that classes in the medical school were Pass/Fail.

        31.     Sampson has passed all of his medical school classes to date.

        32.     Although he passed his classes, he did not have time to finish reading all of the

 questions on the examinations and therefore was not able to demonstrate the fullest extent of his

 knowledge of medicine.

        33.     Stony Brook approved him to continue on to his second year of medical

 education.

        34.     Stony Brook’s Renaissance School of Medicine has a committee appointed by its

 Faculty Senate called the Committee on Academic & Professional Progress (“CAPP



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 Committee”). The CAPP Committee makes decisions about academic standing and professional

 progress.

        35.     In his second year of medical school, Sampson came to the attention of the CAPP

 Committee as the result of his advocacy on behalf of his class in regard to when students in his

 class year should be required to take and pass the first part of the United States Medical

 Licensing Examination.

        36.     The United States Medical Licensing Examination (“USMLE”) is a three-step test

 administered by an outside entity called the National Board of Medical Examiners (“NBME”).

 Although all allopathic physicians must pass each step of the USMLE to gain licensure, when

 and even if medical students need to take each part of the three-step test varies from medical

 school to medical school. Stony Brook, for example, requires that its medical students pass Step

 1 and Step 2 Clinical Knowledge to be conferred a medical degree.

        37.     Sampson advocated that students in his class year be permitted to take Step 1 of

 the USMLE after completion of their third year of medical school rather than after their second

 year of medical school.

        38.     After polling his classmates about their preferences in regard to the timing of

 taking Step 1 of the USMLE and receiving over 92% response rate to his survey, Sampson met

 with Dr. Chandran, the Vice Dean for Academic Affairs and a member of the CAPP Committee

 to discuss his proposal that his class year be given a choice in regards to the timing of when they

 must take Step 1 of the USMLE.

        39.     Dr. Chandran was opposed to Sampson’s proposal that his class year be able to

 choose the timing of Step 1, but nevertheless directed Sampson to raise the proposal with the

 CAPP Committee.



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         40.     On November 3, 2016, Sampson did so, leading a student group asking the CAPP

 Committee to change the school policy requiring that a student sit for Step 1 at the end of their

 second year, to offer them the option of instead taking Step 1 at the end of their third year after

 completing clinical rotations.

         41.     Sampson’s advocacy on behalf of his classmates was successful, and on

 November 4, 2016, the CAPP Committee voted to allow his class the right to take Step 1 after

 third-year clinical rotations.

         42.     However, two and half weeks after this vote in favor of Sampson’s proposal over

 the objection of the CAPP Committee chair, the CAPP Committee for the first time raised

 concerns about Sampson’s performance back in his first year of medical school. The CAPP

 Committee raised these new concerns almost nine months after the alleged concern arose and

 three days before final exams midway through his second year of medical school.

         43.     The CAPP Committee asserted that Sampson exhibited academic marginality

 even though he had passed all his classes. The CAPP Committee’s assertion was based on

 arithmetic errors that it refused to correct even when the mathematical errors were called to its

 attention. Notably, this was the first time Sampson had ever been told about marginality either

 as a general concept or as applied to him individually.

         44.     For the first time being told his passing grades were nonetheless “marginal” and

 not having had enough time to read and understand all of the questions on an NBME shelf exam,

 Sampson recognized that he had no choice but to request the extended time accommodations he

 needed because of his disability. He applied for testing accommodations from Stony Brook’s

 Disability Support Services.




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        45.     Stony Brook Disability Support Services concluded based upon review of

 Sampson’s neurocognitive evaluations that Sampson has disabilities that require

 accommodations and approved him to begin receiving time and half (50% additional time) on all

 testing. Stony Brook’s Learning Specialist documented that with time and a half, Sampson had

 more time to demonstrate his knowledge of medicine and his performance on shelf exams

 improved significantly.

        46.     Just days later, on December 7, 2016, the CAPP Committee, despite being aware

 of Sampson’s disability and need for accommodations as a result of those disabilities, informed

 Sampson that he would be required to either 1) repeat the entire first year and a half of medical

 school despite having passed all his classes, or 2) take the Step 1 exam immediately, and then if

 he failed, he would need to repeat the entire first year and a half of medical school. Other

 students were not required to take Step 1 at this point in time—Sampson had just won the right

 for his classmates to take Step 1 after the completion of third year clinicals.

        47.     Retaking the first year and half of medical school not only would have caused

 significant harm to Sampson who had passed all his classes the first time he took them, but it

 also would have enriched Stony Brook by three extra semesters of tuition.

        48.     The CAPP Committee advised Sampson he could appeal this decision to the

 medical school dean. He promptly did so and alerted the Dean that the CAPP Committee had

 miscalculated his grades and that he was not in fact a student with marginal status. The medical

 school dean acknowledged Sampson’s points and directed the CAPP Committee to reconsider its

 decision.

        49.     In January of 2017, the CAPP Committee, having considered Sampson’s timely

 filed appeal, rejected Sampson’s appeal and reiterated its prior decision.



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        50.     Meanwhile, Sampson again timely filed an appeal with the Dean, but in February

 2017, the Dean responded that there was no right of appeal from the CAPP Committee decision.

        51.     Faced with the unenviable and demoralizing choice of paying Stony Brook to

 repeat a year and a half of medical school he had already passed or take Step 1 in advance of

 other students at his medical school, Sampson registered to take Step 1 and researched how to

 apply for the accommodations his evaluating specialists and Stony Brook agreed he needed from

 the NBME for Step 1.

        52.     Sampson filed a request for accommodation with the NBME and had no choice

 but to wait for the NBME’s accommodation decision. In the meantime, he was not permitted to

 continue with medical school classes and was forced to take a leave of absence.

        53.     The NBME has a long history of denying medical students’ well-documented

 requests for accommodation. For example, in Ramsay v. NBME, a court entered a preliminary

 injunction requiring the NBME to provide the medical student with her needed accommodations.

 Ramsay v. Nat’l Bd. of Med. Exam’rs, 968 F.3d 251 (3d Cir. 2020). Likewise in Berger v. Nat’l

 Bd. of Med. Exam’rs, the Court entered a preliminary injunction requiring the NBME to provide

 accommodations to a student with ADHD and learning disabilities. Case No. 1:19-cv-99, 2019

 U.S. Dist. LEXIS 145666 (S.D. Ohio Aug. 27, 2019).

        54.     While students without disabilities can register for the USMLE and take the test

 almost immediately, students with disabilities must wait for accommodations decisions that can

 take many months and frequently need to submit appeals or obtain additional testing that can be

 extraordinarily expensive and take months or even years to accomplish. Some students,

 particularly those with ADHD and learning disabilities, have been forced at the end of extensive

 appeals to pursue federal litigation against the NBME that can in turn take years.



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        55.     In Sampson’s case, after delay, NBME rejected his request for accommodations.

        56.     As all too many students with documented disabilities must do, Sampson

 appealed the denial of his needed accommodations by the NBME. Without necessary

 accommodations – accommodations Stony Brook Disability Support Services has said he needs,

 he could not take Step 1 and demonstrate his knowledge, particularly when he was being

 required to take the test at an earlier point in his medical education than his peers.

        57.     Meanwhile, on July 17, 2017, Sampson was again notified the CAPP Committee

 was meeting “to discuss the issues pertaining to your delay in taking the USMLE Step 1 exam.”

        58.     Following a meeting of the CAPP Committee held in August 2017 without

 Sampson present, the CAPP Committee advised Sampson that he must either immediately start

 medical school over or take and pass the USMLE Step 1 on his first attempt, in time to complete

 medical school in seven years.

        59.     Sampson persisted in seeking the accommodations he needed because of his

 disabilities from the NBME, but the NBME unlawfully rejected each of his appeals and requests

 for reconsideration, despite Sampson having furnished extensive documentation supporting his

 need for accommodations.

        60.     From 2017 through 2019, the NBME rejected Sampson’s requests for

 accommodations six times despite the documentation of his disability and the fact that Stony

 Brook itself stated that Sampson needs the testing accommodations he requested for the USMLE

 Step 1 exam.

        61.     In an effort to comply with Stony Brook’s demands after the NBME rejected his

 requests for accommodations on the USMLE, Sampson took Step 1 of the USMLE in January of

 2020, without the accommodations he needed. Without the extended time he needed because of



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 disability, Sampson was unable to substantively complete significant portions of the exam and

 resorted to guessing vastly as the clock ran out. He failed the exam.

          62.   The CAPP Committee invited him to appear again just as Covid hit and there was

 delay in conduct of the CAPP Committee meeting as a result.

          63.   In June of 2020, Sampson appeared before the CAPP Committee by Zoom and

 the CAPP Committee asked Sampson to provide a reason why he should not be dismissed from

 medical school because of his failure to take and pass the USMLE Step 1 without

 accommodations. Notably, it was not possible by this time to complete medical school in seven

 years.

          64.   During this meeting, Sampson attempted to explain that he was continuing to

 advocate for the accommodations he needed from the NBME, that he needed to obtain additional

 testing to convince the NBME of what his doctors and Stony Brook Disability Support Services

 knew his disability required.

          65.   The Americans with Disabilities Act (ADA) requires testing entities to provide

 accommodations. See 42 U.S.C. § 12189. Likewise, ADA regulations provide that professional

 licensing examinations such as the USMLE must be administered so as to “best ensure” that

 results measure the individual’s knowledge rather than the extent of his disability. See 28 C.F.R.

 § 36.309(b)(1).

          66.   Despite the CAPP Committee’s own obligation not to discriminate on the basis of

 disability or to rely on the discriminatory actions of other entities, CAPP Committee made

 gravely discriminatory statements to Sampson during the June 2020 meeting.




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        67.     Dr. Larson, then Chair of the CAPP Committee, said of Sampson needing

 accommodations from the NBME, “I don’t believe that this is the only way you could pass that

 exam. You’re not the first student who’s ever had a learning disability and won’t be the last.”

        68.     In response, Sampson asked, “Can I ask why I'm not getting the opportunity to

 continue to pursue the accommodations I need for the test that we’re talking about?”

        69.     Dr. Larson responded, “You just simply have refused to acknowledge that they're

 not going to give it to you.”

        70.     When Sampson attempted to again explain that he could not demonstrate his

 subject matter knowledge without accommodations because of his disabilities, Dr. Larson

 responded, “Do you believe you are the only person in the world who has had this problem?”

        71.     The CAPP Committee thereafter voted to dismiss Sampson from medical school

 because he could not at that time complete his education in seven years given the CAPP

 Committee’s own refusal to recognize his disability, need for accommodations, and the NBME’s

 refusal to provide the testing accommodations that he needs to demonstrate his knowledge of

 medicine.

        72.     Counsel intervened on Sampson’s behalf and submitted a letter to the dean of the

 medical school appealing Stony Brook’s decision. This appeal specifically advised that

 dismissing Sampson from medical school under these conditions would be discrimination in

 violation of federal law. When counsel received no response, it escalated the matter in June

 2020 with a letter to Susan Blum, the General Counsel for Stony Brook.

        73.     On July 13, 2020, Stony Brook overturned the CAPP Committee’s decision and

 allowed Sampson to re-enroll. Even though at the time of his re-enrollment, it was not possible




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 for him to complete his medical education in seven years, Sampson was finally permitted to

 resume his medical education.

        74.     During the time he was barred from continuing his medical education, Sampson

 received his first patent on a medical system. For a medical student with patents, a Master of

 Business Administration offered obvious benefits. With the knowledge and support of his

 medical school, Sampson became a joint-degree (MD/MBA) student taking classes both as a

 medical student and as a business student.

        75.     Meanwhile, Stony Brook executed and signed a certification that Sampson would

 graduate from medical school in May 2023, which was beyond the seven-year period.

        76.     It is common practice for medical schools to grant modifications from seven-year

 requirements when necessary to ensure that students have the accommodations needed to

 demonstrate their knowledge on NBME exams.

        77.     In reliance on Stony Brook’s revocation of its discriminatory CAPP Committee

 decision, Sampson enrolled and continued his medical education. Sampson excelled in both his

 business school classes, earning straight As, and in his medical school clinical rotations,

 receiving exemplary performance reviews.

        78.     Sampson underwent additional educational testing in hopes of demonstrating to

 the NBME his need for extended time, a need that Stony Brooks Disability Support Services

 termed “imperative.”

        79.     Sampson underwent comprehensive testing by Dr. Jeannette Wasserstein, a

 clinical neuropsychiatrist and assistant clinical professor of psychiatry at Mt. Sinai Medical

 School.




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        80.     As had prior evaluations, this new evaluation underscored Sampson’s very real

 and significant need for extended testing time. Dr. Wasserstein administered a battery of tests

 and concluded that Sampson had both very significant ADHD and learning disabilities. The

 results were consistent with prior testing. She described Sampson has having “significant

 handicaps on tasks that rely on perceptual reasoning and working memory, such as reading

 comprehension.” Tests showed both his reading rate and reading fluency as being significantly

 deficient. His reading rate on difficult material was at the lowest percentile. When answering

 questions within the normal time limit on one inventory, for example, he was able to answer only

 12 of 38 questions in the time allotted. With double time, he was able to answer all questions,

 and answered all but one question correctly.

        81.     Dr. Wasserstein found severely impaired sustained visual attention, which would

 be expected to impact performance on lengthy standardized exams. She also found significant

 difficulty with tasks that rely on visual processing and would be even more pronounced under

 timed testing conditions.

        82.     Dr. Wasserstein diagnosed significant reading comprehension issues resulting

 from the combination of diagnoses including complex reading disorder with dysgraphia with

 impaired visual processing and other memory and learning deficits. She found clear deficits in

 sustained attention, executive function, memory and learning ability and visual-motor

 integration. These deficits were not just between Sampson’s Superior/Very Superior intellect

 and test performance, but were also absolute deficits as compared to the general population.

        83.     Dr. Wasserstein strongly advised that double time was needed as an

 accommodation in testing as well as extended breaks between test segments.




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          84.      Stony Brook Disability Support Services reviewed the test results and granted

 Sampson double time on testing.

          85.      In October 2021, Sampson received an email from the new dean, asserting that he

 must graduate in seven years despite the fact that he had been re-enrolled at a time when Stony

 Brook had stated that it was not possible for him to finish in seven years.

          86.      The new dean’s position was in direct contradiction to the decision of the prior

 dean allowing Sampson to re-enroll (and pay Stony Brook tuition) and continue his medical

 education even though he already by then could not have completed his medical degree in seven

 years.

          87.      The new dean’s position was also in direct contradiction to the Stony Brook

 policy that specifies that the seven-year policy does not apply to joint-degree students like

 Sampson.

          88.      Specifically, Stony Brook’s policy states,

          All requirements for the MD degree must be met within seven (7) years after the date of
          first enrollment in the School of Medicine, or within five (5) years for a student who
          transfers into the School of Medicine after the first year. This time limitation does not
          apply to students in conjoint degree (e.g., MD/PhD) or other approved programs, e.g., a
          concurrent or consecutive MPH, MBA, MA degree…

 See https://renaissance.stonybrookmedicine.edu/ugme/policies (emphasis added) (last visited

 July 29, 2022).

          89.      Stony Brook knew, because its own learning and disability support specialist

 repeatedly said so, that Sampson’s disability requiring extended time on the USMLE was

 “significant” and real.

          90.      After the new dean’s surprising email telling Sampson that he must graduate

 within seven years even though it was impossible for him to do so, when Stony Brook permitted



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 him to return for third-year clinicals, Sampson’s counsel sought clarification and discussions

 with Suzanne Shane, Stony Brook’s Associate General Counsel.

        91.     In the meantime, Sampson continued his classes and at long last obtained the

 results of the additional testing for submission to the NBME, which provided yet additional

 support for his need for extended time.

        92.     After a long silence, Stony Brook finally responded to counsel again stating that

 Sampson must graduate in seven years.

        93.     On March 21, 2022, Sampson’s counsel again wrote Stony Brook pointing out

 that (1) the seven-year limitation was, by Stony Brook’s own policy, not applicable to joint-

 degree students like Sampson, that (2) Stony Brook had permitted him to resume classes in July

 2020 even though it knew by then that he could not complete medical school within seven years ,

 and (3) a modification from any seven-year policy was necessary and reasonable in light of

 Sampson’s disability and need for testing accommodations from the NBME.

        94.     In this letter specifically requesting additional time to complete his medical

 degree as a modification for his disability, counsel for Sampson alerted Stony Brook to legal

 precedent supporting the reasonableness of such additional time as a modification required under

 federal disability law.

        95.     Despite knowledge of such precedent, Stony Brook again stated that Sampson

 must finish his medical education within seven years.

        96.     Seven years runs August 12, 2022.

        97.     Absent intervention from the Court to protect Sampson’s rights, he will be

 withdrawn from medical school despite stellar performance in clinicals and his dreams of




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 becoming a doctor – dreams he has doggedly pursued at the expense of significant time and

 resources – will end on or about August 12, 2022.

        98.     If Sampson is dismissed from medical school, he will no longer be eligible to sit

 for the Step 1 examination for which he has been pursuing accommodations, since a requirement

 of sitting for the examination is current enrollment in medical school.

        99.     In June 2022, the NBME denied Sampson’s most recent request for

 accommodations. Counsel is actively pursuing necessary testing accommodations and is in

 direct communication with the NBME to determine whether litigation is necessary for Sampson

 to receive the accommodations he needs. However, once he is no longer a student in good

 standing, Sampson will no longer be eligible to even request accommodations from the NBME.1

        100.    Sampson has been harmed insofar as Stony Brook prevented him from

 progressing with his education due to late-asserted, retaliatory, and incorrect claims of

 marginality, voted to withdraw his enrollment for discriminatory reasons, reneged on its own

 reversal of the discriminatory withdrawal, and denied Sampson modification from a seven-year

 policy that by its own terms does not even apply to Sampson.

        101.    At risk is Sampson’s entire future – a student described by Stony Brook’s own

 preceptors as compassionate, dedicated, and gifted, and a student Stony Brook’s own Disability

 Support Services describes as having an imperative need for accommodation on the USMLE.




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          The USMLE’s policies relating to eligibility to take the exam provides, “If you are
 dismissed or withdraw(n) from medical school, you are not eligible for the USMLE, even if you
 are appealing the school’s decision or are otherwise contesting your status.” See
 https://www.usmle.org/bulletin-information/eligibility (last accessed on July 29, 2022).
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        102.     Sampson has suffered humiliation, frustration, and embarrassment at not being

 given an opportunity equal to that of students without disabilities to demonstrate the extent of his

 knowledge and medicine and progress through his education.

        103.     Sampson has lost earnings and suffered economic and other harms as the result of

 Stony Brook’s discriminatory conduct.

        104.     Stony Brook has repeatedly acted with discriminatory intent, including deliberate

 indifference.

               COUNT I – TITLE II OF THE AMERICANS WITH DISABILITIES ACT

        105.     The foregoing paragraphs of this Complaint are incorporated herein by reference.

        106.     Title II of the ADA states that “no qualified individual with a disability shall, by

 reason of such disability, be excluded from participation in or be denied the benefits of the

 services, programs, or activities of a public entity, or be subjected to discrimination by any such

 entity.” 42 U.S.C. § 12132.

        107.     Stony Brook is a public entity.

        108.     Sampson is an individual with a disability within the meaning of the ADA

 because his ADHD and learning disabilities are substantial impairments to the major life

 activities of thinking, concentrating, reading, learning, and taking standardized exams.

        109.     Sampson is a qualified individual with a disability.

        110.     Sampson is unable to complete his education within seven years because of his

 disability, because of Stony Brook’s discrimination, and because he needs time to pursue his

 requests for the accommodation from the NBME.

        111.     Stony Brook has discriminated and continues to discriminate with deliberate

 indifference against Plaintiff on the basis of his disabilities by imposing a seven-year restriction



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 on graduation from medical school even though this policy does not apply to Sampson and he

 needs additional time as a reasonable modification to ensure that he has the accommodations

 needed to take the NBME exams.

         112.    Notably, entities cannot excuse their own discrimination by reliance on the

 discrimination of others.

         113.    Sampson has been harmed and continues to suffer harm, including economic

 damages as the result of Stony Brook’s actions.

         114.    Sampson will be irrevocably harmed absent an injunction to stop Stony Brook

 from unilaterally withdrawing him from medical school and ending his medical career.

                 COUNT II – VIOLATION OF THE REHABILITATION ACT

         115.    The foregoing paragraphs of this Complaint are incorporated herein by reference.

         116.    Section 504 of the Rehabilitation Act, 29 U.S.C. § 794 (“section 504”), prohibits

 discrimination against people with disabilities in any “program or activity receiving Federal

 financial assistance.”

         117.    Section 504 of the Rehabilitation Act mandates that “[n]o otherwise qualified

 individual with a disability . . . shall, solely by reason of her or his disability, be excluded from the

 participation in, be denied the benefits of, or be subjected to discrimination under any program or

 activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

         118.    Section 504 regulations require universities such as Stony Brook to make

 reasonable modifications as “are necessary to ensure that such requirements do not discriminate

 or have the effect of discriminating, on the basis of handicap, against a qualified handicapped

 applicant or student.” 34 C.F.R. § 104.44(a).




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        119.    Section 504 regulations further provide that reasonable modifications may

 “include changes in the length of time permitted for the completion of degree requirements.” 34

 C.F.R. § 104.44(a).

        120.    Stony Brook is a program or activity that receives Federal financial assistance.

        121.    Stony Brook accepted millions of dollars of Federal financial assistance

 conditioned on a promise not to discriminate on the basis of disability.

        122.    Sampson is an individual with a disability because his ADHD and learning

 disabilities substantially limit his ability to think, concentrate and perform on timed assessment

 absent mitigating measures and accommodations.

        123.    Sampson is a qualified individual with a disability.

        124.    Sampson has passed all of his medical school classes and received glowing

 reviews for his clinical rotations.

        125.    Stony Brook’s imposition of the seven-year rule that is plainly inapplicable to

 Sampson is discrimination in violation of section 504.

        126.    Stony Brook’s refusal to grant reasonable modification from its supposed seven-

 year rule is discrimination in violation of section 504.

        127.    Stony Brook acted and is acting with deliberate indifference.

        128.    Sampson has been harmed and continues to suffer harm, including economic

 damages as the result of Stony Brook’s actions.

        129.    Sampson will be irrevocably harmed absent Court intervention.



        WHEREFORE, Sampson seeks judgment against Stony Brook as follows:




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       A.    For preliminary and permanent injunctions enjoining and restraining Stony Brook

             from withdrawing him from medical school and denying him modification to the

             seven year policy;

       B.    For a declaratory judgment that Sampson has the right to continue as a medical

             student in good standing because he requires additional time to complete his

             medical degree as the result of Stony Brook’s discriminatory actions against

             Sampson and the denial of accommodations by the NBME;

       C.    For damages, including but not limited to economic damages, non-economic

             damages, and nominal damages;

       D.    For the costs of suit and reasonable attorneys’ fees; and

       E.    For such other further relief as the Court shall deem just.

                                            Respectfully submitted,



                                            s/Mary C. Vargas
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                                      Demand for Jury Trial

       Plaintiff demands a trial by jury with respect to all issues triable of right by jury.



                                               /s/        Mary C. Vargas
                                                          Mary C. Vargas

                                               Attorney for Plaintiff




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